U.S, Departme .t of Justice
Unheu States Attorney          Case 1:12-cr-00323-WSD-CMS Document 2 Filed 09/25/12 Page 1 of 1

                                                                                                                                                  FILED IN CIIAMDCRG
                                                                         UNITED STATES DISTRICT COURT
                                                                         N O R T H E R N DISTRICT OF G E O R G I A

                                                                                                            DIVISION       Atlanta
                                                                                                                          (USAO2012R00856)              N.D. GEORGIA
                                                         DEFENDANT INFORMATION R E L A T I V E T O A CRIMINAL A C T I O N
                                                                    IN UNITED STATES DISTRICT C O U R T

C O U N T Y N A M E : Fulton                                                                                DISTRICT C O U R T N O . •

                                                                                                            M A G I S T R A T E C A S E NO.

 X     Indictment                                                       Infoimation                                           Magistrate's Complaint

D A T E : 9/25/2012                                                 DATE:                                                 DATE:

                                 U N I T E D STATES OF A M E R I C A                                                                  SUPERSEDING
                                                 vs.
                                   EDWARD K. KIM
                                                                                                        Prior Case No. & Date Filed


  VIOLATION:

  COUNTS CHARGED:                                                                              TOTAL COUNTS:
  (as to deft)                                                                                 (as to deft)
  GREATER OFFENSE C H A R G E D :
   X Felonv          Misdemeanor
DEFENDANT:

IS N O T IN C U S T O D Y :

               1.         Has not been arrested pending outcome of this proceeding.
                          If not detained, give date any prior summons was served on above charges.
               2.         Fugitive.
               3.         Is on bail or release from (district, state & date):



D A T E OF A R R E S T :
           Or i f arresting agency & warrant were not Federal:

D A T E T R A N S F E R R E D T O U.S. C U S T O D Y :
             Are there any outstanding warrants in this proceeding                  Yes   No
             Date:                                                                                        Issued by:



IS IN C U S T O D Y :

               4.       On this charge.
               5.      On another conviction.
               6. Awaiting trial on other charges X Yes      No
                  X     Federal         State
                       If Yes, show name of institution Forsyth County Detention
                       Has detainer been filed _ Yes                            No
                  If Yes, give date


                       A D D I T I O N A L I N F O R M A T I O N OR C O M M E N T S :            MAGISTRATE:
                                                                                                 JUDGE:
                                                                                                 A.U.S.A.:             Joseph Plummer
                                                                                                 DEFT'S A T T Y :
                                                                                                                   S A L L Y QUILLIAN YATES
                                                                                                                   U N I T E D STATES A T T O R N E Y
                                                                                                  BY:    Joseph Plummer
                                                                                                             Assistant United States Attomey


                                                                                                  DATE:     September 25, 2012
